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                 UNITED STATES DISTRICT COURT
                 SOLnI1aIRN DISTRICT OF GEORGIA

                        STATESBORO DIVISION


KENNETH DALE FULMER,

       Movant,

V.                                          Case No. CV614-019
                                                      CR6 11-015
UNITED STATES OF AMERICA,

       Respondent.

                              ORDER

       After a careful 4, novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed. Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of the Court.

       SO ORDERED this        \3   day of                 , 2014.



                                   B(AVAN7EDENFIELD
                                   UNITED STATES DISTmqt' JUDGE
                                   SOUTHERN DISTRICT LiF GEORGIA
